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UNITED STATES DISTRICT COURT

DISTRICT OF MASSACHUSETTS

 

UNITED STATES OF AMERICA,

V.

ROSS MCLELLAN

Criminal Action No. l6-l 0094-LTS

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VERDICT SLIP

We, thejury, being unanimous, have reached the following verdicts:

l. COUNT ONE:

2. COUNT TWO:

3. COUNT THREE:

4. COUNT FOUR:

CONSPIRACY TO COMMIT OFFENSES AGAINST THE
UNITED STATES IN VIOLATION OF 18 U.S.C. §371

NOT GUILTY / GUlLTY

sEcURITIEs FRAUD 1N vloLATIoN oF 15 U.s.c. §7sj(b),
15 u.s.c. §7sfr(a), 18 c.F.R. §240.10b-5,AN1) 18 U.s.c. §2
(NTMA)

NOT GUILTY di GUILTY

sEcuRITIEs FRAUD IN vloLATloN oF 15 v.s.c. §7sj(b),
15 U.s.c. §7srr(a), 18 c.F.R. §240.10b-5, AND 18 U.s.c. §2
(RoYAL MAIL)

NOT GUILTY 4§ GUILTY

WIRE FRAUD IN VIOLATION OF 18 U.S.C. §1343 AND 18
U.S.C. §2 (NTMA, EMAIL DATED APRIL 5, 2011)

NOT GUILTY /t/ GUILTY

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5. COUNT FIVE: WIRE FRAUD IN VIOLATION OF 18 U.S.C. §1343 AND 18
U.S.C. §2 (ROYAL MAIL, EMAIL DATED JUNE 22, 2011)
NOT GUILTY X GUILTY
6. COUNT SIX: WIRE FRAUD AFFECTING A FINANCIAL INSTITUTION

IN VIOLATION OF 18 U.S.C. §1343 AND 18 U.S.C. §2 (AXA,
EMAIL DATED FEBRUARY 24, 2011)

f l NOT GUILTY GUILTY

I certify that the above are the unanimous answers of thejury.

O/AO[/§ A

DATE F'oREPERsoN's sIGNATURE

